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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


RANGA BRAHMAMDAM, M.D.                        :       Case No. 1:19-cv-152
                                              :
               Plaintiff                      :       Judge Susan J. Dlott
                                              :       Magistrate Judge Karen Litkovitz
        -vs-                                  :
                                              :
TRIHEALTH INC., et al.                        :
                                              :
               Defendants                     :


     PLAINTIFF RANGA BRAHMAMDAM’S REPLY MEMORANDUM IN SUPPORT
         OF HIS MOTION TO COMPEL MEDICAL PROVIDER AND DAMAGE
        INFORMATION FROM DEFENDANT MARGO ALEXANDER (DOC. 57)


I.      INTRODUCTION

        The Court’s subject matter jurisdiction in this case rests upon federal law pursuant to 28

U.S.C. §1331. (Doc. 27, PAGEID #336) Specifically, Plaintiff asserts claims under 42 U.S.C.

§1981, 42 U.S.C. §2000(e) et seq., 29 U.S.C. §626, 42 U.S.C. §1985, and 42 U.S.C.§1988. (Id.)

The state law claims before the Court exist under its supplemental jurisdiction codified at 28

U.S.C. §1367. (Id.) Defendant Alexander also brought her counterclaims against Plaintiff

pursuant to 28 U.S.C. §1367. (Doc. 33, PAGEID #391).

        Alexander seeks damages from Plaintiff based upon two causes of action set forth in the

counterclaim she filed in this case. Those damages include loss of reputation and emotional

distress, embarrassment, humiliation and “other negative emotions for each separate claim for
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relief in an amount no less than $35,000 and/or up to any amount awarded at trial for each claim”

(Doc. 59-1, PAGEID #582)1

         Nevertheless, while Alexander seeks damages from Plaintiff for her alleged emotional

distress injuries, she argues that she is protected from identifying her treating physicians and

providing medical records relating to those injuries based on the following erroneous reasons:

             (a) That the supplemental claims at issue between Plaintiff and Alexander only
                 involve state law claims therefore the physician-patient privilege contained in
                 Ohio Revised Code §2317.02(B)(1) protects her medical records from discovery
                 in this case. (Doc. 59, PAGEID ##567-568);

             (b) Alexander’s medical records are protected from discovery pursuant to the
                 psychotherapist/patient privilege. (Doc. 59, PAGEID #568)

             (c) Alexander’s damages she allegedly sustained from humiliation and emotional
                 distress involve “garden variety” damages which do not involve a waiver of the
                 physician-patient privilege. (Doc. 59, PAGEID #569);

             (d) The medical record requests from Plaintiff are overly broad. (Doc. 59, PAGEID
                 ##571-574).

         For the reason set forth in his original Motion to Compel and those explained herein, the

Court should grant Plaintiff’s Motion to Compel.

II.      ARGUMENT

         FEDERAL PRIVILEGE LAW REGARDING THE PHYSICIAN-PATIENT
           PRIVILEGE GOVERNS THE PENDENT STATE LAW CLAIMS IN
           THIS CASE NOT O.R.C. §2317.02(B) (DOC. 59, PAGEID ##567-568)

         Alexander argues that the privilege issue between her and Plaintiff do not fall under

federal common law but instead under Ohio statutory law. (Doc. 59, PAGEID #567) Thus,

according to Alexander, Ohio’s physician-patient privilege set forth in O.R.C. §2317.02(B )

controls whether her medical records are discoverable. Alexander is incorrect.
1
 One day before filing her opposition memorandum to Plaintiff’s motion to compel, Alexander formally
supplemented her initial disclosures on April 14, 2021, by identifying the emotional distress damages she is seeking
against the Plaintiff in the case. (Doc. 59-1, PAGEID #582) Therefore, Plaintiff’s request for an order requiring
Alexander to amend her disclosures is now moot.
                                                         2
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        The physician-patient privilege does not exist under federal common law and Congress

had not codified such a privilege. G.M.C. v. Dir. of the Nat’l Inst. for Occupational Safety &

Health, 636 F.2d 163, 165 (6th Cir. 1980) (citing Whalen v. Roe, 429 U.S. 589, 602 n.28, 97 S.

Ct. 869, 51 L. Ed. 29 64 (1977)) The physician-patient privilege is a creature of state law. see

e.g., Ohio Revised Code §2317.02(B)(1), and in civil cases, “state law governs privilege

regarding a claim or defense for which state law supplies the rule of decision.” Fed. R. Evid.

501. In this case, federal law supplies the rule of decision as it arises under federal law.

        For civil actions in the Sixth Circuit that contain federal claims along with pendent state

law claims, the federal common law of privilege applies to all the claims. Hancock v. Dodson,

958 F.2d 1367, 1372-73 (6th Cir. 1992) (holding that physician-patient privilege did not apply to

plaintiff’s §1983 and pendent state claims). In so holding, the court looked to the legislative

history of Federal Rule of Evidence 501 and reasoned that this approach “appeared to be most

consistent with the congressional policy that ‘in nondiversity jurisdiction civil cases, federal

privilege law will generally apply Id citing H.R.REP. No. 1597, 93d Cong., 2d Sess. 7 (1974),

reprinted in 1974 U.S.C.C.A.N. 7101)” Id. quoting Perrignon v. Bergen Brunswig Corp., 77

F.R.D. 455 (N.D. Cal. 1978). See also Langenfeld v. Armstrong Word Industries, Inc., 299

F.R.D. 547, 551 (S.D. Ohio 2014) (citing to Hancock and stating that in a case where a district

court is exercising federal question jurisdiction, the existence of a pendent state law claim does

not relieve the court of its obligation to apply the federal law of privilege. (Id. at fn. 1);

Washington v. Randall-Owens, No. 06-12588, 2007 U.S. Dist. LEXIS 28484 at ¶17 (E.D. Mich.

Apr. 18, 2007) (holding that no physician-patient privilege exists in an action with federal

claims, including §1983).



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       In the case at hand, the underlying civil action brought by Plaintiff presents federal

questions regarding discrimination along with pendent state law claims. The federal common

law privilege applies to all claims in this civil action including the state law claim asserted by

Plaintiff against Alexander and her counterclaims against Plaintiff. (Hancock 958 F.2d at 1372-

73) Consequently, Alexander cannot assert a physician-patient privilege over her medical

records for her emotional distress and reputational injuries that do not involve mental health

treatment by a psychotherapist.

       THE IDENTITY OF ALEXANDER’S MEDICAL CARE PROVIDERS AND
            THE DATES OF TREATMENT DO NOT FALL WITHIN THE
                  PSYCHOTHERAPIST-PATIENT PRIVILEGE

       In Interrogatory 19, Plaintiff seeks the identity of Alexander’s health care providers, her

dates of treatment, and the nature of treatment. These facts are not privileged from discovery as

they do not fall within the psychotherapist-patient privilege. See In re Zuniga, 714 F.2d 632, 640

(6th Cir. 1983) (information sought as to identity of patients, the date of treatment, and the length

of treatment on each date does not fall within a privilege.) See also DeKany v. City of Akron,

No. 5:16CV1829, 2017 U.S. Dist. LEXIS 2713 at ¶3 (N.D. Ohio Jan. 9, 2017) (identity of a

patient, or the fact and time of treatment, do not fall within the scope of the psychotherapist-

patient privilege) Accordingly, Alexander should be ordered to provide complete answers to

Plaintiff’s Interrogatory No. 19.

   ALEXANDER HAS WAIVED THE PSYCHOTHERAPIST-PATIENT PRIVILEGE
     BY FILING HER COUNTERCLAIM AGAINST PLAINTIFF AND SEEKING
           EMOTIONAL DISTRESS AND REPUTATIONAL DAMAGES

       In her opposition memorandum, Alexander states that under federal law “the existence of

physician-patient privilege, including psychotherapist-patient privilege, has been expressly

recognized.” (Doc. 59, PAGEID #568) That statement is partially wrong as there is no

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physician-patient privilege under federal law. Plaintiff does admit that a federal psychotherapist-

patient privilege exists, but in this case, Alexander has waived that privilege.

       In Jaffee v. Redmond, 518 U.S. 1, 15, 116 S. Ct. 1923, 135 L. Ed. 2d 337 (1996), the

Supreme Court established a psychotherapist-patient privilege which applies between a licensed

psychotherapist or psychologist and their patients in the course of diagnosis and treatment.

However, like other privileges, a patient may waive this privilege. Id. at n.14. The Sixth Circuit

has held that placing ones mental health at issue, constitutes a waiver of the privilege. Simon v.

Cook, 261 Fed. App’x 873, 886 (6th Cir. 2008).

       In her recent pleading, Alexander disclosed that she is seeking compensatory damages to

her reputation, short term emotional distress, embarrassment, humiliation, and other negative

emotions from Plaintiff for no less than $35,000 for each of her counterclaims. (Doc. 59,

PAGEID #582) By placing her emotional distress claim at issue in this case, she has waived the

psychotherapist-patient privilege. See Maday v. Pub. Libraries, 480 F.3d 815, 821 (6th Cir.

2007) (holding that in an age discrimination claim, the evidentiary privilege of mental health

information is waived when plaintiff put “her emotional state at issue in the case.”). In re

Zuniga, 714 F.2d at 637 (“[t]here is no privilege…as to communications relevant to an issue of

the mental or emotional condition of the patient in any proceeding in which she relies upon the

condition as an element of [her] claim or defense”).

       In this Circuit, district courts have also held that the assertion of emotional distress

damages waives any privilege. Ross v. Bachand, No. 14-CV-14122, 2016 U.S. Dist. LEXIS

3436, at ¶10 (E.D. Mich. Jan. 12, 2016); (“[Plaintiff] placed her medical records at issue in this

case by filing claims for emotional distress damages. As long as [Plaintiff] seeks such

noneconomic damages, [Plaintiff’s] medical records are relevant and discoverable.”); O’Malley

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v. NaphCare, Inc., 311 F.R.D. 461, 468 (S.D. Ohio 2015) (“[Plaintiff’s] medical records are

relevant to her claim for emotional distress damages.”); Maysey v. Henkel Corp., No. 1:17CV-

00108-GNS, 2018 WL 314859, at ¶3 (W.D. Ky. Jan 5, 2018) (holding that “placing one’s mental

health at issue constitutes a waiver of the privilege.”); McMullen v. Reserves Network, Inc., No.

1:12CV2140, 2013 U.S. Dist. LEXIS 13304 at ¶¶2-3 (N.D. Ohio Jan. 31, 2013) (explaining that

emotional distress claims in an employment discrimination lawsuit waive any privilege because

these claims put medical and mental conditions at issue, resulting in the need for plaintiff to

provide medical releases for all of her providers, “as it has long been the practice of federal

courts to direct plaintiffs to provide authorizations so that defense counsel may obtain pertinent

records directly from health care providers.”); Witschger v. E.I. DuPont de Nemour & Co., No.

1:11-CV-814, 2012 U.S. Dist. LEXIS 160902 at ¶3 (S.D. Ohio Nov. 9, 2012) (“to the extent

plaintiff seeks damages for emotional distress, his medical records are relevant[.]”);2 White v.

Honda of Am. Mfg. Inc., No. 2:07-CV-216, 2008 U.S. Dist. LEXIS 112102 at ¶7 (S.D. Ohio Dec.

31, 2008) (medical records are relevant to determine the causal connection of an emotional

injury); Noble v. Ruby Tuesdays Restaurants, Inc., No. 2:06-CV-259, 2007 U.S. Dist. LEXIS

78924 at ¶6 (S.D. Ohio Oct. 23, 2007) (“Plaintiff’s medical records are relevant to any claim for

emotional distress or mental anguish unless Plaintiff affirmatively and unambiguously disclaims

any claim based upon emotional distress or mental anguish, he must provide this discovery.”);

Mirtes v. Norfolk S. Ry., No. 3:05CV7216, 2005 U.S. Dist. LEXIS 34935 at ¶1 (N.D. Ohio Dec.

22, 2005) (“Courts routinely direct plaintiffs to provide authorizations so that defense counsel

may obtain pertinent records directly from health care providers.”).



2
 In Witschger, this Court agreed that in a discrimination case, plaintiff’s claims for emotional distress damages
makes her medical records relevant.
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       Based upon the overwhelming precedent in this district and the Sixth Circuit, Alexander

waived the psychotherapist-patient privilege by placing her mental status at issue.

  ALEXANDER’S CLAIM THAT SHE DID NOT WAIVE THE PSYCHOTHERAPIST-
  PATIENT PRIVILEGE BECAUSE HER EMOTIONAL DISTRESS DAMAGES ARE
           ONLY OF THE GARDEN VARIETY IS WITHOUT MERIT

       Alexander contends that she has not waived the psychotherapist-patient privilege even

though she is claiming thousands if not hundreds of thousands of dollars in damages allegedly

caused by Plaintiff. She argues that her counterclaims against Plaintiff in which she seeks

emotional distress damages do not constitute a waiver of that privilege because in her opinion the

damages can be characterized as “garden variety”. (Doc. 59, PAGEID ##569-570) Alexander

is wrong.

       Neither the Sixth Circuit nor any district court in this district has adopted the “garden

variety” damage argument as an exception to the generally understood canon that by filing a

lawsuit and seeking emotional distress damages, plaintiff has waived the psychotherapist-patient

privilege. The most thorough discussion regarding this issue occurred in Langenfeld v.

Armstrong World Indus. Inc., supra. In that case, Judge Frost discussed the concept of a non-

waiver of the privilege when a plaintiff only seeks garden variety damages. Langenfeld, 299

F.R.D. at 551-553. However, Judge Frost did not adopt the garden variety damage waiver by

reasoning that:

            It goes without saying that the Court cannot simply accept Plaintiff’s assertion
            that her allegations of emotional distress constitute “garden variety”
            allegations. Instead, the Court must examine the substance of Plaintiff’s
            allegations to determine what type of damages she is pursuing.

Id. at 553. Judge Frost recognized that Plaintiff’s complaint that she suffered stress and ongoing

sleep deprivation was sufficient to conclude that Plaintiff had waived the psychotherapist-patient

privilege. Id. Consequently, because the “Plaintiff put her mental state at issue as the Sixth
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Circuit used the term in Maday”, Plaintiff had waived the psychotherapist-patient privilege that

would have applied to her medical records. Judge Frost ordered Plaintiff’s medical records be

produced.3

         In addition, Judge Frost noted that Plaintiff had experienced other stressers in her life.

Thus, the Court concluded that it would be fundamentally unfair to allow Plaintiff to assert that

Defendant’s actions caused her mental stress, but not allow Defendant to explore another stresser

that was present at or around the same time. Id. at 554.4 See also Thomas v. Nationwide

Children’s Hosp., Inc., No. 2:14-cv-1236, 2015 U.S. Dist. LEXIS 162971 at ¶10 (S.D. Ohio Dec.

4, 2015) (medical records are relevant because they show that the Plaintiff had other ongoing

mental health issues which either contributed to any emotional suffering, or aggravated the

emotional distress allegedly caused by Defendant’s actions); White v. Honda of Am. Mfg., supra,

at ¶7 (medical records may also contain evidence to assist the Defendant in showing either the

lack of causal connection between the employer’s actions and an emotional injury, or the

presence of multiple causes); McMullen v. Reserves Network, Inc., supra, at ¶4 (Defendant is

entitled to Plaintiff’s medical records in order to defend against Plaintiff’s emotional distress

claim by showing other causes for her mental distress).

         Similarly, Alexander’s medical records are relevant in this case. Alexander was seeing a

psychiatrist in March 2018. (Doc. 57-11, PAGEID #528, Exh. 10) She had been treated by a

psychiatrist presumably for a psychiatric or mental condition since she was eight years old.

(Doc. 57-18, PAGEID #536)5 In the spring of 2018 she was experiencing severe anxiety, her

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  Alexander claims that damages awarded by a jury for emotional distress between $125,000 and $300,000
constitute garden variety damages. (Doc. 59, PAGEID #570) Plaintiff is unaware of any case in this district in
which emotional distress damages in excess of $125,000 are characterized as garden variety.
4
  The Court ordered the Plaintiff to provide medical releases to allow the Defendant to obtain the medical records as
that was the most efficient and economical way for Defendant’s to obtain those records. Id. at 555.
5
  At the time Plaintiff was mentoring Alexander, she was 29 years old.
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ADHD was possibly getting worse, and she was becoming more forgetful due to what she

described as sleep deprivation. (Doc. 57-17, PAGEID #535, Exh. 16; Doc. 57-16, PAGEID

#534) Alexander was also taking Adderall and mixing it with a late night wine cocktail in order

to counter its effects. (Doc. 57-14, PAGEID #532, Exh. 14) As a consequence, she was

considering taking an additional anti-depressant because she was a self-described “hot mess”.

(Doc. 57-12, PAGEID #529) Due to other stressers that have affected and continue to affect

Alexander, Plaintiff is entitled to review her medical records to test the veracity of her emotional

distress and mental anguish conditions that she claims she suffered which were allegedly caused

by the Plaintiff. Alexander cannot use her medical condition as a sword against Plaintiff and

then shield the very evidence which would either corroborate her damages or disprove those

conditions exist resulting from Plaintiff’s alleged conduct.

                PLAINTIFF’S REQUEST FOR ALEXANDER’S MEDICAL
                         RECORDS IS NOT OVERBROAD

       In Interrogatory No. 19, Plaintiff seeks relevant information for Alexander regarding the

identification of her physicians, dates of treatment, and length of treatment from 2015 to the

present. The request is relevant, non-privileged and not overbroad especially in light of the fact

that Alexander has been treating with a psychiatrist since age 8.

       In Document Request No. 20, Plaintiff seeks the medical records for these physicians

from 2015 to the present. Again, the request is relevant, non-privileged, or, in the event a

privilege exists, it has been waived, and not overbroad given her continual treatment by a

medical professional since her childhood. These requests are not a fishing expedition and the

confidentiality of these records will be maintained by the Court’s prior entry of a protective

order. (Doc. 42)


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III.   CONCLUSION

       For all of the foregoing reasons, Plaintiff requests the Court order Alexander to answer

Interrogatory No. 19 and produce documents pursuant to Document Requests 19 and 20.

Plaintiff also requests that Alexander be required to sign a medical authorization for Plaintiff to

obtain the records as that is the most economical manner in which to proceed with discovery.

                                               Respectfully submitted,


                                               /s/ Mark J. Byrne _________________________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of April, 2021, I electronically filed the foregoing
with the Clerk of Courts using the CM/ECF system, which sent Notice of the filing to all
registered counsel and parties by operation of the Court’s electronic filing system.


                                               /s/ Mark J. Byrne
                                               Mark J. Byrne (0029243)




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